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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


1N RE: NATIONAL FOOTBALL
LEAGUE PLAYERS' CONCUSSION                     No. 2:12-md-02323-AB
INJURY LITIGATION                              MDL No. 2323


Kevin Turner and Shawn Wooden,                 Civil Action No. 2:14-cv-00029-AB
on behalfofthemselves and
others similarly situated,
             Plaintiffs,

                 v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

             Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


                PROPOSED ORDER GRANTING MOTION TO INTERVENE

       AND NOW, this                  day of                                     2014, after

consideration of the Motion to Intervene of Sean Morey, Alan Faneca, Ben Hamilton, Robert

Royal, Roderick Cartwright, Jeff Rohrer, and Sean Considine, and any responses thereto, it is

hereby ORDERED that the Motion is GRANTED. Sean Morey, Alan Faneca, Ben Hamilton,

Robert Royal, Roderick Cartwright, Jeff Rohrer, and Sean Considine are granted leave to

intervene.

                                                 BY THE COURT:




                                                  ANITA B. BRODY
                                                  United States District Judge
